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                           UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF PENNSYLVANIA

 JULI WINTJEN, on behalf of herself and all           )
 others similarly situated,                           )   Civil Action No.: 2:19-cv-69
                                                      )
                                Plaintiff,            )
                                                      )   CLASS AND COLLECTIVE
                v.                                    )   ACTION COMPLAINT
                                                      )
 DENNY’S, INC; and DOE DEFENDANTS 1-                  )
 10,                                                  )   JURY TRIAL DEMANDED
                                                      )
                                Defendant.            )
                                                      )

       Plaintiff Juli Wintjen (“Wintjen” or “Plaintiff”), on behalf of herself and all others

similarly situated, alleges as follows:

                                          INTRODUCTION

          1.      This is a class and collective action brought on behalf of “Tipped Employees”

  who work or have worked at restaurants operating under the trade name Denny’s that are owned

  and operated and/or managed by Defendant Denny’s Corporation, (“Defendant” or “Denny’s”),

  and have been subject to the unlawful practices detailed herein.

          2.      Upon information and belief, the employment practices complained of herein

  occurred at all of Denny’s locations at issue, as Defendant utilized common labor policies and

  practices at each of their locations. Accordingly, Defendant is responsible for the employment

  practices complained of herein.

          3.      Denny’s is an international restaurant chain, with over “over 1,700 locations.”

  See https://www.dennys.com/company/about/ (last visited October 26, 2018). These locations

  are either corporate-owned or franchised-owned.          In Pennsylvania, there are at least 13

  corporate restaurant locations owned and operated by Defendant.
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       4.      Denny’s employs individuals in a tipped capacity, namely “servers” (“waiters

and “waitresses”) (collectively, “Tipped Employees”), who are and/or were subjected to

Defendants’ unlawful pay practices. As Tipped Employees, these individuals were primarily

responsible for taking customers’ orders and serving them their food.

       5.      As explained in detail below, despite Denny’s purported success, it

systematically and willfully deprived Plaintiff and Tipped Employees of minimum wages in

violation of the Fair Labor Standards Act, 29 U.S.C. § 201, et seq., (“FLSA”) and the

Pennsylvania Minimum Wage Act (“PMWA”), 43 P.S. § 333.101, et seq., by, among other

things, failing to satisfy the notice requirements of the tip credit provisions of the FLSA and

PMWA.

       6.      Due to Defendant’s unlawful failure to properly inform Tipped Employees of its

intention to utilize a “tip credit”, Defendant has improperly applied a “tip credit” against the

wages paid to Plaintiff and current and former Tipped Employees, thus paying them less than

the mandated minimum wage.

       7.      Further, Denny’s unlawfully required Plaintiff and current and former Tipped

Employees to perform numerous non-tipped duties that are unrelated to their tipped occupation.

This includes but is not limited to, cleaning tables, cleaning and vacuuming the restaurant floors,

running register, preparing takeout orders and online orders from the Denny’s website, slicing

fruits for drinks such as lemons and limes, rolling silverware, and preparing rolling bins for

silverware. Despite performing this unrelated non-tipped work, Denny’s paid Plaintiff and

current and former Tipped Employees a sub-minimum wage for performing this work.

       8.      As a result of the aforementioned pay practices, Plaintiff and the members of the

Classes (defined below) were illegally under-compensated for their work.




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                                   SUMMARY OF CLAIMS

       9.        Plaintiff brings this action as a collective action to recover unpaid wages,

pursuant to the Fair Labor Standards Act of 1938, as amended, 29 U.S.C. § 201 et seq. (“FLSA”

or the “Act”).

       10.       In particular, Plaintiff brings this suit on behalf of the following similarly

situated persons:

             All current and former Tipped Employees who have worked for
             Defendant in the Commonwealth of Pennsylvania within the
             statutory period covered by this Complaint, and elect to opt-in to
             this action pursuant to the FLSA, 29 U.S.C. § 216(b) (the “FLSA
             Class”).

       11.       In addition, Plaintiff also brings this action as a state-wide class action to recover

unpaid wages, and failing to pay the applicable minimum wage, pursuant to the Pennsylvania

Minimum Wage Act of 1968 (“PMWA”).

       12.       Specifically, Plaintiff brings this suit on behalf of a class of similarly situated

persons composed of:

             All current and former Tipped Employees who have worked for
             Defendant in the Commonwealth of Pennsylvania during the
             statutory period covered by this Complaint (the “PMWA Class”).

       13.       The FLSA Class and the PMWA Class are hereafter collectively referred to as

the “Classes.”

       14.       Plaintiff alleges on behalf of the FLSA Class that they are: (i) entitled to unpaid

minimum wages from Defendant for hours worked for which Defendant failed to comply with

the notice provisions of the tip credit and pay the mandatory minimum wage, as required by law

and (ii) entitled to liquidated damages pursuant to the FLSA, 29 U.S.C. § 201 et seq.




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        15.      Plaintiff alleges on behalf of the PMWA Class that Denny’s violated the PMWA

by failing to comply with the tip credit provisions, as required by law, and consequently failing

to pay them the appropriate minimum wages for all hours worked. In addition, Defendant also

violated the PMWA by failing to pay PA Class members the full minimum wage for time spent

performing non-tip generating work.

                                          PARTIES

        16.      Plaintiff Juli Wintjen (“Plaintiff”) is a resident of the Commonwealth of

Pennsylvania who was employed by Denny’s as a “server” in their Cranberry Township,

Pennsylvania location (located at 1346 Old Freedom Rd., Cranberry Township, Pa.). Plaintiff

was employed as a Tipped Employee at this location from on or about September 2017 to

December 2017. While employed as a server, Defendant failed to compensate Plaintiff properly

for all hours worked.

        17.      Pursuant to Section 216(b) of the FLSA, Plaintiff has consented in writing to be

a plaintiff in this action. Her executed Consent To Sue form is attached hereto as Exhibit A.

        18.      Denny’s owns and operates a chain of restaurants located across the United

States. The Company maintains its corporate office at 203 East Main Street, Spartanburg, South

Carolina. In addition, the Company maintains the website “www.dennys.com.”

        19.      At all relevant times during the statutory period covered by this Complaint,

Defendant has transacted business within the Commonwealth of Pennsylvania, including within

this District.

        20.      Defendant operates with a high degree of interrelated and unified operations,

sharing common management between restaurant locations, sharing common employees




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    between locations, as well as sharing common human resources and payroll services. All of

    Defendant’s locations share the common labor policies and practices complained of herein.

            21.      Plaintiff is unaware of the names and the capacities of those defendants sued as

    DOES 1 through 10 but will seek leave to amend this Complaint once their identities become

    known to Plaintiff. 1      Upon information and belief, Plaintiff alleges that at all relevant times

    each defendant was the officer, director, employee, agent, representative, alter ego, or co-

    conspirator of each of the Defendants. In engaging in the alleged conduct herein, defendants

    acted in the course, scope of, and in furtherance of the aforementioned relationship.

    Accordingly, unless otherwise specified herein, Plaintiff will refer to all defendants collectively

    as “Defendants” and each allegation pertains to each of the defendants.

                                      JURISDICTION AND VENUE

            22.      This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

    § 1331 and 29 U.S.C. § 201 et seq.

            23.      Further, this Court also has supplemental jurisdiction over Plaintiff’s state law

    claims pursuant to 28 U.S.C. § 1367 because those claims derive from a common nucleus of

    operative facts.

            24.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(ii) as a substantial

    part of the acts or omissions giving rise to the claims alleged herein occurred within this judicial

    district, and Defendants are subject to personal jurisdiction in this district.

            25.      This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C.

    §§ 2201 and 2202.



1
 Plaintiff believes there may be additional Denny’s entities employing Tipped Employees that have not been identified
yet. Should discovery reveal the existence of such restaurants, Plaintiff will seek leave to amend her pleadings to add
such additional entities as defendants.


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                               FACTUAL ALLEGATIONS

       26.     The crux of the FLSA and PA State Laws is, inter alia, that all employees are

entitled to be paid mandated minimum wages for all hours worked.

       27.     Contrary to these basic protections, Plaintiff and the members of the Classes

were deprived of the mandated minimum wage for all hours they worked.

       28.     Plaintiff and the members of the Classes are, or were, Tipped Employees

employed by Defendant.

       29.     Upon information and belief, all of the Defendant’s locations are/were operated

under uniform policies/procedures applicable to all members of the Classes, including

subjecting Tipped Employees to the unlawful pay practices complained of herein.

       30.     Evidencing this fact, on the Company’s website, an individual is able to apply

online to any Denny’s location. The description for “server” is identical for all of Denny’s

locations. In addition to the regular server duties of waiting on tables, the description requires

the “[g]reeting and seating guests”, “[r]eceiving payment for the Cashier and making correct

change”, and “[h]elping to keep our restaurants clean, completing side work, and organizing

supplies as needed.” See https://careers.dennys.com/global/en/restaurant-crew (last visited

October 26, 2018).

       31.     As such, upon information and belief, the employment practices complained of

herein occurred at all Denny’s locations within the Commonwealth as Defendant utilized

common labor policies and practices at each of their locations. Accordingly, Defendant is

responsible for the employment practices complained of herein.

                     Plaintiff’s Experience Working For Defendant




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       32.     As set forth above, Plaintiff was employed by Denny’s as a “server” in their

Cranberry Township location in the Commonwealth of Pennsylvania. Plaintiff worked at this

location from in or about September 2017 through December 2017.

       33.     Plaintiff was paid an hourly cash wage rate of $2.83 from Denny’s and earned

tips from customers who chose to leave her a gratuity.

       34.     Plaintiff does not ever recall her hourly wage being raised above $2.83 for any

day she worked for Denny’s, irrespective of how little tips she earned or the type of work she

performed.

       35.     During her employment with Denny’s, Plaintiff typically worked at least 40 to

50 hours a week over five (5) days per week. Plaintiff typically worked the overnight shifts

on Friday and Saturday of each week. In addition Plaintiff would often work the 5:00 p.m. to

11:00 p.m. shift Sunday through Thursday.

       36.     For her Friday and Saturday shifts, Plaintiff typically worked a nine (9) hour

shift. Her weekend shifts were either 5:00 p.m. to 2:00 a.m. or 6:00 p.m. to 3:00 a.m.

       37.     As she neared the end of her shifts, Plaintiff would spend her time cleaning and

performing her closing sidework, rather than waiting on tables.

       38.     Plaintiff recorded her work time by logging into Denny’s timekeeping system

through the point-of-sale (“POS”) system.

       39.     Notably, Plaintiff was never instructed to clock in under a different job code

when performing non-tip generating work (such as set up or breakdown work at the start or end

of a shift) or when working prior to or after the restaurant opened/closed. Indeed, to the best of

Plaintiff’s knowledge, Defendant did not keep track of such time separately from Plaintiff’s

entries into the POS system.




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           40.     The precise amount of time Plaintiff recorded as working each week, upon

    information and belief, is maintained in Defendant’s employment and/or payroll records.

                           The Tip Credit Provision & Requirements

FLSA Requirements

           41.     Rather than pay its Tipped Employees the applicable minimum wage (either the

    applicable state minimum wage or the federal minimum wage, whichever is higher), Defendant

    chose to take a tip credit and pay these employees less than the applicable minimum wage.

           42.     Under applicable law, in certain circumstances, it is permissible for an employer

    to take a tip credit and pay its employees less than the mandated minimum wage, provided that

    the employee’s tips received from customers plus the cash wage paid by the employer equals at

    least the applicable minimum wage. 2

           43.     According to the Department of Labor’s (“DOL”) Fact Sheet #15: Tipped

    Employees Under the Fair Labor Standards Act (FLSA) (“Fact Sheet #15”):

                 the maximum tip credit that an employer can currently claim under
                 the FLSA is $5.12 per hour (the minimum wage of $7.25 minus the
                 minimum required cash wage of $2.13).

           44.     As is made plain in Fact Sheet #15, in order to claim a tip credit, the employer

    must comply with five strict notification requirements.




2
  An employer is not relieved of their duty to pay an employee wages at least equal to the minimum
wage by virtue of taking a tip credit or by virtue of the employee receiving tips from customers in
an amount in excess of the applicable minimum wage. That is, an employer in the restaurant
industry must pay the employee wages at least equal to the minimum wage or equal to the
minimum wage less the tip credit, provided the tips claimed exceed the tip credit. Under no
circumstances is the employer relieved of paying at least the minimum wage for all hours worked,
regardless of how much an employee earns in tips.



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           45.      First, the employer must notify the employee of the amount of the cash wage the

    employer is paying the Tipped Employee and that amount must equal at least $2.13 per hour.

           46.      Second, the employer must notify the Tipped Employee of the amount the

    employer is claiming as a tip credit. In accordance with the FLSA, the tip credit claimed cannot

    exceed $5.12 per hour.

           47.      Third, the employer must inform the Tipped Employee that the tip credit claimed

    cannot exceed the actual amount of tips received by the employee. In effect, the employer must

    inform the employee that the employee must still earn the mandated minimum of $7.25 per hour

    between the amount of the tip credit taken by the employer and the amount of tips earned by

    the employee.

           48.      Fourth, the employer must notify the Tipped Employee that all tips received are

    to be retained by the employee except for a valid tip pooling arrangement.

           49.      Finally, the Tipped Employee must be informed by the employer that the tip

    credit will not apply unless the employee has been informed of these provisions.

           50.      In short, Fact Sheet #15 effectively sets forth in plain English what is required

    under the regulations for an employer to properly claim a tip credit.

           51.      An employer bears the burden of showing that it has satisfied all of the

    notification requirements before any tips can be credited against the employee’s hourly wage. 3

    If an employer cannot demonstrate its compliance with this notification requirement, no credit

    can be taken and the employer is liable for the full minimum wage.




3
 Courts have strictly construed this notification requirement. Accordingly, some courts have
held that a generic governmental poster (which is required by the DOL) does not satisfy the tip
credit notification requirement.



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            52.     Further, where a tipped employee earns less in tips than the tip credit claimed,

    the employer is required to make up the difference. Stated another way, if a tipped employee

    earns less than $5.12 per hour in tips (the maximum tip credit permissible where the employer

    pays the employee $2.13 per hour), the employer must raise that tipped employee’s hourly cash

    component the necessary amount above $2.13 per hour so as to ensure that the employee earns

    at least $7.25 per hour – the mandated minimum wage.

            53.     As set forth herein, Defendant failed to comply with certain of the FLSA’s

    provisions regarding the claiming of a tip credit.

Pennsylvania’s Requirements

            54.     Pennsylvania state law has a substantially similar requirement to the FLSA’s tip

    notification requirements. See 43 P.S. § 333.103(d).

            55.     Importantly, however, Pennsylvania mandates a higher minimum cash wage and

    requires employers to pay at least $2.83 per hour. Thus, under Pennsylvania law, the maximum

    tip credit is $4.42 per hour. 4

            56.     As such, an employer cannot be said to have complied with Pennsylvania’s tip

    credit notification requirements where the employer simply relies on United States Department

    of Labor mandated posters, as said posters do not explicitly identify the tip credit amount in

    Pennsylvania (as it differs from the FLSA tip credit amount).

            57.     In addition, 34 Pa. Code § 231.34 also requires employers to maintain payroll

    records that contain the following information:




4
 Like the FLSA, Pennsylvania law states that the tip credit claimed by the employer cannot
exceed the amount of tips actually received by the employee. See 43 P.S. § 333.103(d).


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             (1) A symbol or letter placed on the pay records identifying each employee whose

    wage is determined in part by tips;

             (2) Weekly or monthly amount reported by the employee, to the employer, of tips

    received. This may consist of reports made by the employees to the employer on IRS Form

    4070;

             (3) Amount by which the wages of each tipped employee have been deemed to be

    increased by tips, as determined by the employer, not in excess of 45% of the applicable

    statutory minimum wage until January 1, 1980 and thereafter 40% of the applicable

    statutory minimum wage. The amount per hour which the employer takes as a tip credit

    shall be reported to the employee in writing each time it is changed from the amount per

    hour taken in the preceding week;

             (4) Hours worked each workday in any occupation in which the tipped employee

    does not receive tips and total daily or weekly straight-time payment made by the employer

    for such hours; and

             (5) Hours worked each workday in occupations in which the employee received

    tips and total daily or weekly straight-time earnings for the hours.

                    Defendant’s Failure to Notify Tipped Employees

       58.     As explained above, the DOL has very specific requirements regarding what an

employer must notify his/her employee of if that employer intends to claim a tip credit.

       59.     Rather than comply with the notification requirements set forth in Fact Sheet

#15, Defendant chose to simply pay their Tipped Employees $2.83 per hour in Pennsylvania.

In short, Defendant failed to inform their Tipped Employees of (i) their intention to take the tip

credit, and (ii) the amount Defendant intended to claim as a tip credit.




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       60.     The Third Circuit and district courts across the country have held that where an

employer fails to satisfy any one of the notification requirements, including paying employees

for all hours worked, that employer forfeits the tip credit and must pay the employee the full

minimum wage.

       61.     Indeed, Plaintiff does not ever recall being notified by Denny’s that it intended

to take a “tip credit,” nor how much that amount would be. Evincing the magnitude of

Defendant’s abject failure to notify Tipped Employees of their intention to take a tip credit, until

recently, Plaintiff never even heard the term “tip credit.”

       62.     Denny’s also failed to comply with 43 P.S. 231.34 insofar as it failed to notify

employees in writing whenever the tip credit claimed by Defendant changed. Rather, Defendant

took the maximum tip credit permissible irrespective of whether its Tipped Employee actually

earned sufficient tips to substantiate the tip credit claimed.

       63.     Defendant also failed to comply with 43 P.S. 231.34 insofar as it failed to notify

employees in writing of the hours worked where the Tipped Employee did not receive tips.

Rather, Defendant took the maximum tip credit permissible for every hour worked by its Tipped

Employees, including Plaintiff, irrespective of whether its Tipped Employees (i) actually earned

sufficient tips to substantiate the tip credit claimed or (ii) whether the employees were engaged

in tip generating work.

Additional Evidence of Defendant’s Failure To Comply With The Tip Credit Provisions

       64.     Defendant required Tipped Employees to perform non-tip generating work.

Such non-tip generating work included what is commonly referred to as “side work.” Such

work included prep work at the beginning of the shift (prepping the work station and stocking




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items), running side work (cleaning the work area and restocking items that customers used)

and closing side work (breaking down and cleaning work area at end of shift).

       65.     This non-tip generating side work comprised a substantial portion of the Tipped

Employees’ shifts.

       66.     For example, Plaintiff estimates that she spent approximately 30% of each of her

shifts performing side work. Indeed, when she worked the midnight shift at the restaurant she

would routinely have little to no customer activity and would perform non-tip generating work

throughout the entire night, where she also earned little to no tips.

       67.     As Fact Sheet #15 makes clear, “where a tipped employee spends a substantial

amount of time (in excess of 20 percent in the workweek) performing” non-tip generating work,

“no tip credit may be taken for the time spent in such duties.”

       68.     At no time did Defendant have Plaintiff or other Tipped Employees clock in

under a different code or pay these individuals the full minimum wage, instead electing to

continue to pay them the minimum cash wage and continuing to claim the tip credit despite the

fact that these employees could not earn tips during this time.

       69.     Such conduct constitutes a violation of 43 P.S. 231.34 insofar as Denny’s failed

to record the hours where Plaintiff and the other Tipped Employee were engaged in non-tip

generating work.

                   CLASS & COLLECTIVE ACTION ALLEGATIONS

       70.     Plaintiff brings this action on behalf of the FLSA Class as a collective action

pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 207 and 216(b). Plaintiff also brings

this action as a class action pursuant to Fed. R. Civ. P. 23 on behalf of herself and the PMWA

Class for claims under the PMWA..




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           71.         The claims under the FLSA may be pursued by those who opt-in to this case

  pursuant to 29 U.S.C. §216(b). The claims brought pursuant to the PMWA may be pursued

  by all similarly-situated persons who do not opt-out of the PMWA Class pursuant to

  Fed.R.Civ.P. 23.

           72.         Upon information and belief, the members of each of the Classes are so

  numerous that joinder of all members is impracticable. While the exact number of the members

  of these Classes is unknown to Plaintiff at this time, and can only be ascertained through

  appropriate discovery, given that Denny’s operates approximately 13 restaurants in the

  Commonwealth of Pennsylvania, there are likely well over a hundred individuals in the Classes.

           73.         Defendant has acted or has refused to act on grounds generally applicable to the

  Classes, thereby making final injunctive relief or corresponding declaratory relief with respect

  to the Classes as a whole, appropriate.

           74.         The claims of Plaintiff are typical of the claims of the Classes she seeks to

  represent. Plaintiff and the members of the Classes work or have worked for Defendant and

  were subject to the same compensation policies and practices.

           75.         Common questions of law and fact exist as to the Classes that predominate over

  any questions only affecting them individually and include, but are not limited to, the following:

                 (a)       whether Defendant have failed to pay the full minimum wage for each hour

worked;

                 (b)       whether Defendant satisfied each of the requirements in order to claim a tip

credit against each hour worked;

                 (c)       whether Defendant were precluded from claiming the tip credit during the

period encompassed by this Complaint; and




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                  (d)   whether Plaintiff and members of the Classes are entitled to compensatory

damages, and if so, the means of measuring such damages.

            76.     Plaintiff will fairly and adequately protect the interests of the Classes as her

  interests are aligned with those of the members of the Classes. Plaintiff has no interests adverse

  to the Classes she seeks to represent, and has retained competent and experienced counsel.

            77.     The class action/collective action mechanism is superior to other available

  methods for a fair and efficient adjudication of the controversy. The damages suffered by

  individual members of the Classes may be relatively small when compared to the expense and

  burden of litigation, making it virtually impossible for members of the Classes to individually

  seek redress for the wrongs done to them.

            78.     Plaintiff and the Classes she seeks to represent have suffered and will continue

  to suffer irreparable damage from the illegal policy, practice and custom regarding Defendant’s

  pay practices.

            79.     Defendant has violated and, continue to violate, the FLSA, 29 U.S.C. §§ 201 et

  seq. The foregoing conduct, as alleged, constitutes a willful violation of the FLSA within the

  meaning of 29 U.S.C. § 255(a) and willful violation of the PMWA.

                          FIRST CLAIM FOR RELIEF
            FAIR LABOR STANDARDS ACT MINIMUM WAGE VIOLATIONS
                          (On Behalf of the FLSA Class)

            80.     Plaintiff, on behalf of herself and the Collective Class, realleges and incorporates

  by reference the paragraphs above as if they were set forth again herein.

            81.     At all relevant times, Denny’s has had gross revenues in excess of $500,000.

            82.     At all relevant times, Denny’s has been and continues to be, an employer

  engaged in interstate commerce, within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and

  207(a).


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       83.     At all relevant times, Denny’s has employed, and/or continues to employ,

Plaintiff and each of the FLSA Class Members within the meaning of the FLSA.

       84.     Pursuant to Denny’s compensation policies, rather than pay Tipped Employees

the federally-mandated minimum wage, Defendant took a tip credit and paid Tipped Employees

only the tip-credit wage.

       85.     Denny’s has violated and, continues to violate, the FLSA, 29 U.S.C. §§ 201 et

seq. The foregoing conduct, as alleged, constitutes a willful violation of the FLSA within the

meaning of 29 U.S.C. § 255(a).

       86.     Due to Denny’s FLSA violations, Plaintiff, on behalf of herself and the members

of the FLSA Class, are entitled to recover from the Defendant, compensation for unpaid wages;

an additional equal amount as liquidated damages; and reasonable attorneys’ fees and costs and

disbursements of this action, pursuant to 29 U.S.C. § 216(b).

                  SECOND CLAIM FOR RELIEF
  PENNSYLVANIA MINIMUM WAGE ACT– MINIMUM WAGE VIOLATIONS
                   (On Behalf of the PMWA Class)

       87.     Plaintiff, on behalf of herself and the members of the PMWA Class, realleges

and incorporates by reference the paragraphs above as if they were set forth again herein.

       88.     At all relevant times, Denny’s has employed, and/or continues to employ,

Plaintiff and each of the PMWA Class Members within the meaning of the PMWA.

       89.     Pursuant to Denny’s compensation policies, rather than pay Tipped Employees

the Pennsylvania mandated minimum wage, Denny’s improperly took a tip credit and paid

Tipped Employees at a rate well below the Pennsylvania minimum wage.




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            90.     Pursuant to Denny’s compensation policies, rather than pay Tipped Employees

  the required minimum wage in Pennsylvania, Denny’s took a tip credit and paid Tipped

  Employees only the tip-credit wage.

            91.     At relevant times in the period encompassed by this Complaint, Denny’s had a

  willful policy and practice of failing to satisfy the notification requirements in order for Denny’s

  to claim the tip credit.

            92.     As a result of Denny’s willful practices, Denny’s was not entitled to claim the

  tip credit and pay Plaintiff and the members of the PA Class less than the Pennsylvania

  minimum wage for all hours worked.

            93.     Defendant has violated and, continue to violate, the PMWA, 43 Pa. C.S.C. §

  333.101 et seq.

            94.     Due to the Defendant’s violations, Plaintiff, on behalf of herself and the

  members of the PA Class, are entitled to recover from Defendant the amount of unpaid

  minimum wages, attorneys’ fees and costs.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and/or on behalf of herself and all other similarly

situated members of the FLSA Class and members of the PMWA Class respectfully requests the

Court grant the following relief:

       A.         Designation of this action as a collective action on behalf of the Collective Class,

and prompt issuance of notice pursuant to 29 U.S.C. §216(b), apprising them of the pendency of

this action, and permitting them to assert timely FLSA claims in this action by filing individual

Consents to Sue pursuant to 29 U.S.C. §216(b);

       B.         Designation of the action as a class action under F.R.C.P. 23 on behalf of the

PMWA Class;


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       C.      Designation of Plaintiff as representative of the FLSA Class and the PMWA Class;

       D.      Designation of Plaintiff’s counsel as class counsel for the FLSA Class and the

PMWA Class;

       E.      A declaratory judgment that the practices complained of herein are unlawful under

the FLSA and PMWA;

       F.      An injunction against Defendant and their officers, agents, successors, employees,

representatives and any and all persons acting in concert with it, as provided by law, from engaging

in each of the unlawful practices, policies and patterns set forth herein;

       G.      An award of unpaid minimum wages to Plaintiff and the members of the Classes;

       H.      An award of liquidated damages to Plaintiff and members of the Classes;

       I.      An award of costs and expenses of this action together with reasonable attorneys’

and expert fees to Plaintiff and members of the Classes; and

       J.      Such other and further relief as this Court deems just and proper.

                               DEMAND FOR TRIAL BY JURY

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby demands

a trial by jury on all questions of fact raised by the complaint.



Dated: January 22, 2019                                Respectfully submitted,

                                                       By: /s/ Gary F. Lynch

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